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_________
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                                                          November 10, 2021

VIA ECF
Hon. Sarah L. Cave
United States District Court
500 Pearl St.
New York, NY 10007

                       Re:        Duran et al v. ELG., et al.
                                  Case No.: 1:18-cv-06685(GBD)(SLC)

Your Honor:

        This office represents Plaintiffs in the above-referenced matter. This matter was
scheduled for a discovery conference on Wednesday, November 10, 2021, at 4:00PM. However,
our office recently installed computer software which altered the time to reflect the conference
time at 4:30PM. As such, Plaintiff’s counsel dialed in at 4:23PM, not knowing what had
occurred until noticing the subsequent Court Order.

       Plaintiff’s counsel has never missed a conference and would like to apologize.

       Thank you for your time and consideration to this matter.



                                                                                    Respectfully Submitted,

                                                                                  /s/ Bryan D. Robinson
                                                                                   Bryan D. Robinson, Esq.




                               Certified as a minority-owned business in the State of New York
